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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


CONN APPLIANCES, INC.,                              §
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §           CIVIL ACTION 4:19-1097
                                                    §
VERONICA DAVIS,                                     §
                                                    §
        Defendant.                                  §

                                                ORDER

        Presently before the Court is Defendant’s Unopposed Motion to Lift Stay (Dkt. 10).

Defendant’s Unopposed Motion to Lift Stay is GRANTED. It is therefore ORDERED that the

stay in this action is lifted, and this action is reinstated to the Court’s active docket.



        Signed at Houston, Texas on _______________ _____, 2019.




                                                        ___________________________________
                                                                    Gray H. Miller
                                                              United States District Judge
